           Case 2:99-cr-00433-WBS Document 850 Filed 04/10/07 Page 1 of 3


1    McGREGOR W. SCOTT
     United States Attorney
2    WILLIAM S. WONG
     JASON HITT
3    Assistant U.S. Attorneys
     501 I Street, Ste 10-100
4    Sacramento, CA 95814
     Telephone (916) 554-2790
5
6
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        )
12                                   ) CR. NO. S-99-433-WBS
                    Plaintiff,       )
13                                   )
               v.                    ) STIPULATION AND [PROPOSED] ORDER
14                                   ) TO JOIN DEFENDANTS AND TO CONTINUE
     THONGSOUK THENG LATTANAPHON,    ) JURY TRIAL ON COUNTS SIX, SEVEN,
15   aka Kevin Lattanaphon,          ) EIGHT, AND NINE
                                     )
16                  Defendant.       ) DATE: April 17, 2007
                                     ) TIME: 9:00 a.m.
17   _______________________________ ) CTRM: Honorable William B. Shubb

18        The United States of America, through its counsels of record,

19   McGregor W. Scott, United States Attorney for the Eastern District

20   of California, and William S. Wong and Jason Hitt, Assistant United

21   States Attorneys; defendant Thongsouk Theng Lattanaphon, through his

22   counsel of record, Jeffrey Staniels, Assistant Federal Defender;

23   hereby stipulate and agree that the jury trial of Counts Six, Seven,

24   Eight, and Nine in the above-entitled matter - Indictment number

25   CR.S-99-0433-WBS, which is presently set for trial on April 17,

26   2007, should be continued to October 7, 2007, at 9:00 a.m.

27        The parties agree that by continuing these counts to the

28   October date, the policy of judicial economy will be furthered, and

                                           1
           Case 2:99-cr-00433-WBS Document 850 Filed 04/10/07 Page 2 of 3


1    victims and witnesses in those robberies will be called to testify
2    in one, rather than two trials.
3          The parties agree and stipulate that defendant Lattanaphon
4    should be joined with co-defendants John That Luong, Minh Huynh,
5    Hoang Ai Le, and Son Van Nguyen for trial on Counts Six, Seven,
6    Eight, and Nine, presently set for jury trial on October 2, 2007.
7    The parties further stipulate that if the defendant is joined with
8    the co-defendants for trial for the aforementioned counts, on the
9    aforementioned date, that time be excluded from the Speedy Trial
10   clock pursuant to 18 U.S.C. § 3161(h)(7) - delay when the defendant
11   is joined for trial with co-defendants.        The parties agree that the
12   period of time between April 17, 2007 and October 2, 2007 should be
13   excluded from the Speedy Trial clock in order to allow defense
14   counsel time to effectively prepare for the trial of Counts Six,
15   Seven, Eight, and Nine pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and
16   Local Code T4 - to allow reasonable time to prepare.
17                                             Respectfully submitted,
18                                             McGREGOR W. SCOTT
                                               United States Attorney
19
20
     DATED: April 4, 2007                By:/s/ WILLIAM S. WONG
21                                          WILLIAM S. WONG
                                            Assistant U.S. Attorney
22
23
     DATED: April 4, 2007                By: /s/ JEFFREY STANIELS
24                                           JEFFREY STANIELS
                                             Assistant Federal Defender for
25                                           defendant THONGSOUK THENG
                                             LATTANAPHON
26
27   ///
28   ///

                                           2
          Case 2:99-cr-00433-WBS Document 850 Filed 04/10/07 Page 3 of 3


1                                      ORDER
2         For the foregoing reasons, the Court orders that defendant
3    Thongsouk Theng Lattanaphon be joined with co-defendants John That
4    Luong, Minh Huynh, Hoang Ai Le, and Son Van Nguyen as to Counts Six,
5    Seven, Eight, and Nine for trial on October 2, 2007.         The Court
6    further orders that the trial of those counts, presently set for
7    April 17, 2007, be continued to October 2, 2007, and that time be
8    excluded for the reasons stated above from today<s date up to and
9    including October 2, 2007.
10
11   DATED: April 9, 2007
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          3
